              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                                2:11 mj 22


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )           ORDER
                                            )
(1) NICHOLAS SCOTT HINKEY,                  )
(2) DAVID WAYNE WILSON,                     )
                                            )
                  Defendants.               )
________________________________________    )


      THIS MATTER is before the Court pursuant to a motion filed by counsel for

defendant David Wayne Wilson entitled “Unopposed Motion to Continue Hearing”

(#24). By Order (#23) entered March 26, 2012, the undersigned had scheduled a

hearing in regard to Defendant Wilson’s Motion to Dismiss (#19) for April 5, 2012

at 2:00 o’clock p.m. Counsel for Wilson now requests a continuance of the hearing.

The motion reflects that the government does not object to a continuance of the

hearing. Dates on which the motion can be heard have been provided in the motion.

For good cause shown, the motion will be allowed.



                                    ORDER

      IT IS, THEREFORE, ORDERED that the motion entitled “Unopposed

Motion to Continue Hearing” (#24) is hereby ALLOWED and the hearing of




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Defendant Wilson’s Motion to Dismiss (#19) will be scheduled for hearing on April

11, 2012 at 9:30 a.m. The Court directs the government, counsel for both defendants,

and both defendants to appear on the Motion to Dismiss (#19) at the United States

Courthouse in Courtroom #2 at 100 Otis Street, Asheville, NC 28801.



                                         Signed: March 30, 2012




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